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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


GREAT AMERICAN INSURANCE
COMPANY, as assignee of Illinois Community
College Risk Management Consortium,
                                                        Case No. 1:22-cv-03765
               Plaintiff,                               District Judge Thomas M. Durkin
                                                        Magistrate Judge Maria Valdez
       v.

STATE FARM FIRE AND CASUALTY
COMPANY,

               Defendant.

                STATE FARM FIRE AND CASUALTY COMPANY’S
             RULE 12(c) MOTION FOR JUDGMENT ON THE PLEADINGS

       Defendant State Farm Fire and Casualty Company (“State Farm”), hereby moves for

judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12(c). In support of this

motion, State Farm states as follows:

       1.      This case presents a straightforward, legal issue that is ripe for determination on the

pleadings: whether excess insurer State Farm is required to contribute to the defense of its insured

Katherine Hamilton in a suit arising out of allegedly defamatory statements that she made while

serving as chairman of the Board of Trustees (the “Board”) of Community College District No.

502, DuPage County, Illinois (the “College of DuPage”), when a primary insurer has assumed the

defense and all of the alleged claims are “potentially within” the scope of that insurer’s policy.

       2.      For the last seven years, Hamilton’s defense has been paid for by the Illinois

Community College Risk Management Consortium (“ICCRMC”), pursuant to an insurance policy

it issued to the College of DuPage.
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       3.      The ICCRMC Policy covers costs arising from claims of employment-related

defamation asserted against board members, like those asserted against Hamilton in the underlying

lawsuit.

       4.      Nevertheless, Plaintiff Great American Insurance Company (“Great American”),

as assignee of ICCRMC, asserts that State Farm should contribute to the costs ICCRMC has paid

to defend Hamilton pursuant to a Personal Liability Umbrella Policy that State Farm issued to

Hamilton.

       5.      Under Illinois law, the primary insurer, not the excess, has the duty to defend. The

primary’s duty to defend (which is broader than the duty to indemnify) is triggered at the outset of

litigation if there is any possibility that the claims asserted against the insured will be covered by

the primary policy.

       6.      Because the underlying complaint against Hamilton asserted claims that are

potentially covered by the ICCRMC Policy, ICCRMC was the primary insurer, and ICCRMC was

obligated to defend all claims asserted against Hamilton.

       7.      In contrast, State Farm’s Umbrella Policy only applies in excess over all other

insurance and self-insurance. Because State Farm’s Umbrella Policy is excess to the ICCRMC

Policy, State Farm’s duty to defend Hamilton was not triggered.

       8.      For these reasons and the reasons further stated in State Farm’s accompanying

Memorandum in Support, judgment on the pleadings should be granted to State Farm.

       WHEREFORE, State Farm respectfully requests that the Court grant judgment in its favor

pursuant to Fed. R. Civ. P. 12(c).




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Dated: November 14, 2022                      Respectfully submitted,

                                              /s/Jacob L. Kahn
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                               CERTIFICATE OF SERVICE

      The undersigned attorney certifies that on November 14, 2022, he caused the foregoing
document to be served on all attorneys of record via the Court’s ECF/electronic mailing system.



                                                    /s/ Jacob L. Kahn

                                                    Counsel for State      Farm     Fire   and
                                                    Casualty Company




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